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 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            CASE NO. 1:18-CR-00219-DAD-BAM
12                                 Plaintiff,             STIPULATION REGARDING USE OF
                                                          VIDEOCONFERENCING DURING SENTENCING
13                           v.                           HEARING; FINDINGS AND ORDER
14   RODDY A. JOHNSON, JR.,                               DATE: June 9, 2020
                                                          TIME: 9:00 a.m.
15                                 Defendant.             COURT: Hon. Dale A. Drozd
16

17                                                BACKGROUND

18          On March 16, 2020, Defendant pleaded guilty to one count of Interference with Commerce by

19 Robbery, in violation of 18 U.S.C. § 1591. This case is set for a sentencing hearing on June 9, 2020.

20          On March 27, 2020, Congress passed the Coronavirus Aid, Relief, and Economic Security Act

21 (“CARES Act”). The CARES Act empowered the Judicial Conference of the United States and Chief

22 District Judges to authorize plea and sentencing hearings by video or telephonic conference when 1)

23 such hearings “cannot be conducted in person without seriously jeopardizing public health and safety;”

24 and 2) “the district judge in a particular case finds for specific reasons that the plea or sentencing in that

25 case cannot be further delayed without serious harm to the interests of justice.” Id., Pub. L. 116-23

26 § 15002(b)(2).
27          On March 29, 2020, the Judicial Conference of the United States made the findings required by

28 the CARES Act, concluding that “emergency conditions due to the national emergency declared by the

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 1 President under the National Emergencies Act (50 U.S.C. § 1601, et seq.) with respect to the

 2 Coronavirus Disease 2019 (COVID-19) have materially affected and will materially affect the

 3 functioning of the federal courts generally.”

 4          On March 30, 2020, the Chief Judge of this District, per General Order 614, also made the

 5 findings required by the CARES Act: “[F]elony pleas under Rule 11 of the Federal Rules of Criminal

 6 Procedure and felony sentencings under Rule 32 of the Federal Rules of Criminal Procedure cannot be

 7 conducted in person without seriously jeopardizing public health and safety.” Accordingly, the findings

 8 of the Judicial Conference and General Order 614 establish that plea and sentencing hearings cannot

 9 safely take place in person.
10           In order to authorize plea hearings by remote means, however, the CARES Act—as

11 implemented by General Order 614—also requires district courts in individual cases to “find, for

12 specific reasons, that felony pleas or sentencings in those cases cannot be further delayed without

13 serious harm to the interests of justice.” General Order 614 further requires that the defendant consent

14 to remote proceedings. Finally, the remote proceeding must be conducted by videoconference unless

15 “videoconferencing is not reasonably available.” In such cases, district courts may conduct hearings by

16 teleconference.

17          The parties hereby stipulate and agree that each of the requirements of the CARES Act and

18 General Order 614 have been satisfied in this case such that a change of plea hearing may be conducted

19 by videoconference. The parties hereby request that the Court enter an order making the specific

20 findings required by the CARES Act and General Order 614. Specifically, for the reasons further set
21 forth below, the parties agree that:

22          1)     The sentencing hearing in this case cannot be further delayed without serious harm to the

23 interest of justice, given that this matter has been pending for nearly roughly two years and defendant

24 anticipates arguing for a time-served sentence with supervision to follow.

25          2)     In their continuing guidance, the Centers for Disease Control and Prevention (CDC) and

26 other public health authorities have suggested the public avoid gatherings in groups of more than 10
27 people and practice physical distancing (within no less than approximately six feet) between individuals

28 to slow the spread of COVID-19. The virus is believed to spread mainly from person-to-person contact,

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 1 and no vaccine currently exists.

 2         3)        These physical distancing guidelines – which are essential to combatting the virus – are

 3 generally not compatible with holding in-person court hearings.

 4         4)        In light of the ongoing public health crisis and the inability to observe the recommended

 5 safety measures at an in-person hearing, the defendant waives his physical presence at the sentencing

 6 hearing and consents to remote sentencing hearing by videoconference. Counsel for the defendant joins

 7 in that waiver.

 8         IT IS SO STIPULATED.

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     Dated: June 3, 2020                                      MCGREGOR W. SCOTT
10                                                            United States Attorney
11                                                            /s/ Jeffrey A. Spivak
                                                              JEFFREY A. SPIVAK
12                                                            Assistant United States Attorney
13
                                                              /s/ John Brennan
14   Dated: June 3, 2020
                                                              JOHN BRENNAN
15
                                                              Counsel for Defendant
16                                                            RODDY A. JOHNSON, JR.

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 1                                            FINDINGS AND ORDER

 2         1.      The Court adopts the findings above.

 3         2.      Further, the Court specifically finds that:

 4                 a)      The sentencing hearing in this case cannot be further delayed without serious

 5         harm to the interest of justice;

 6                 b)      The defendant has waived his physical presence at the hearing and consents to

 7         remote hearing by videoconference.

 8         3.      Therefore, based on the findings above, and under the Court’s authority under § 15002(b)

 9 of the CARES Act and General Order 614, the sentencing hearing in this case will be conducted by
10 videoconference.

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     IT IS SO ORDERED.
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13      Dated:   June 8, 2020
                                                       UNITED STATES DISTRICT JUDGE
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30    PERIODS UNDER SPEEDY TRIAL ACT
